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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   GOVERNMENT’S MOTION IN LIMINE
                                         )   FOR EXCEPTION TO WITNESS
    vs.                                  )   EXCLUSION RULE; CERTIFICATE OF
                                         )   SERVICE
ANTHONY T. WILLIAMS, (1)                 )
ANABEL CABEBE        (2)                 )
                                         )
          Defendants.                    )
                                         )

                   GOVERNMENT’S MOTION IN LIMINE FOR
                  EXCEPTION TO WITNESS EXCLUSION RULE

      The government respectfully moves this Court in Limine for an exception to

the witness exclusion rule to permit its testifying case agent, Federal Bureau of
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Investigation (FBI) Special Agent Megan Crawley, to be present in the courtroom

throughout trial.

      The government intends to call at trial Special Agent Crawley to testify as a

summary witness. Federal Rule of Evidence (Fed. R. Evid.) Rule 615 covers the

exclusion of witnesses and states that “[a]t a party’s request, the court must order

witnesses excluded so that they cannot hear other witnesses’ testimony. Or the

Court may do so on its own.” However, Rule 615(b) and (c) do not authorize

exclusion of an “officer or employee of a party that is not a natural person, after

being designated as the party’s representative by its attorney” or “a person whose

presence a party shows to be essential to presenting the party’s claim or defense.”

Although no motion has been filed seeking exclusion of Special Agent Crawley,

the government files this motion in limine to invoke Rule 615(b) and (c) and to

ensure her presence at trial.

      The Advisory Committee notes to Rule 615 explain that many district courts

permit the government to have the “investigation case agent at counsel table

throughout trial although the agent is or may be a witness.” Fed. R. Evid. 615,

Advisory Cmte. Notes to 1974 Enactment. The notes specifically address the

importance of the case agent particularly in a factually complex trial and indicate

that the exception under subsection (b) was intended to apply to agents. Id. The

Committee’s reasoning also applies to the testifying agent in the instant case.


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Subsection (c) would also be applicable to the case agent as a testifying summary

witness.

                                 CONCLUSION

      The government respectfully requests that the Court grant this Motion.

                   DATED: January 15, 2020, at Honolulu, Hawaii.


                                             KENJI M. PRICE
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Gregg Paris Yates
                                               GREGG PARIS YATES
                                               Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

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Defendant to be served by First Class Mail on or by January 15, 2020:

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             DATED: January 15, 2020, at Honolulu, Hawaii.


                                             /s/ Gregg Paris Yates
                                             U.S. Attorney’s Office
                                             District of Hawaii
